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				CHRISTIAN v. LEE2016 OK 115Case Number: 114883Decided: 11/14/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 115, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

SAMMY LEE CHRISTIAN, an individual, Plaintiff/Respondent,
v.
KEVIN EUGENE LEE, an individual, aka KEVIN E. LEE, an individual, aka KEVIN LEE, an individual, Defendant/Petitioner,
and
MIGNON LEE, an individual, JOHN DOE, a business entity and JANE DOE, an individual, Defendants.
ORDER OF SUMMARY DISPOSITION
¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." 12 Ohio St. 2011, Ch. 15, App. 1. 
¶2 In this matter, THE COURT FINDS, from a review of the record and briefs submitted, that this Court's recent decision in Lee v. Bueno, 2016 OK 97, 381 P.3d 736, is dispositive of the issues in this case. The trial court's Order on Plaintiff's Motion for Declaratory Relief Regarding the Constitutionality of Title 12 Oklahoma Statute § 3009.1, found 12 O.S. § 3009.1 to be unconstitutional because it: 1) is a special law in violation of Okla. Const. art. 5, § 46; 2) arbitrarily imposes burdens upon the right to trial by jury in violation of Okla. Const. art. 2, § 19; 3) violates the rights of plaintiffs to access the courts guaranteed by Okla. Const. art. 2, § 6; and 4) violates the due process rights guaranteed by Okla. Const. art. 2, § 7 and the federal Constitution. The trial court also determined 12 O.S. § 3009.1 to be inconsistent with the collateral source rule. The trial court certified its order for interlocutory review. On appeal, Petitioner asserts the trial court erred on all points, and Respondent asserts the trial court correctly determined 12 O.S. § 3009.1 to be unconstitutional for the reasons stated. All issues presented concerning 12 O.S. § 3009.1 were addressed by this Court in Lee v. Bueno, 2016 OK 97, 381 P.3d 736. 
¶3 IT IS THEREFORE ORDERED that the trial court's Order on Plaintiff's Motion for Declaratory Relief Regarding the Constitutionality of Title 12 Oklahoma Statute § 3009.1 is reversed, and this cause is remanded for further proceedings. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 14th day of November, 2016. 
/S/CHIEF JUSTICE
REIF, C.J., COMBS, V.C.J., KAUGER, WINCHESTER, EDMONDSON, and TAYLOR, JJ., concur.
GURICH, J., concurs by reason of stare decisis.
WATT and COLBERT, JJ., dissent.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2016 OK 97, 381 P.3d 736, LEE v. BUENODiscussed at Length
Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 Ohio St. 3009.1, Admissibility of Medical ExpensesDiscussed at Length


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
